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          Attorney at Law, SBN 191737
      2   711 Ninth Street, Suite 100
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      3   916.438.7711 FAX 916.864.1359
      4   Attorney for Defendant
          MARCELA SANTAMARIA
      5
      6
      7                         IN THE UNITED STATES DISTRICT COURT
      8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
      9
     10   UNITED STATES OF AMERICA,                           No. 2:11-CR-00096 JAM
     11                                 Plaintiff,            STIPULATION AND ORDER TO
                                                              CONTINUE STATUS CONFERENCE,
     12          vs.                                          AND TO EXCLUDE TIME PURSUANT
                                                              TO THE SPEEDY TRIAL ACT
     13   ALEJANDRO FLETES-LOPEZ, et al.,
     14                                 Defendants.
     15
     16          IT IS HEREBY STIPULATED by and between the parties hereto through their
     17   respective counsel, Michael Beckwith and Paul Hemesath, Assistant United States Attorneys,
     18   attorneys for plaintiff; Arturo Hernandez, attorney for defendant Alejandro Fletes-Lopez;
     19   Kenny Giffard and Donald Masuda, attorneys for defendant Irma Gonzalez; Tim Pori, attorney
     20   for defendant Orlando Fletes-Lopez; Christopher Haydn-Myer, attorney for defendant Jesus
     21   Sanchez-Lopez; John Manning, attorney for defendant German Velazquez; Michael Hansen,
     22   attorney for defendant Marcela Santamaria; Dina Santos, attorney for defendant Mauricio
     23   Portillo; Gilbert Roque, attorney for defendant Guadalupe Reyes-Ontiveros; and Hayes Gable,
     24   III, attorney for defendant Diana Hernandez-Gonzalez, that the previously-scheduled status
     25   conference date of May 17, 2011, be vacated and the matter set for status conference on
     26   July 19, 2011.
     27          This continuance is requested to allow counsel additional time to review discovery with
     28   the defendants, to examine possible defenses and to continue investigating the facts of the case.


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      1   Accordingly, counsel and the defendant agree that time under the Speedy Trial Act from the
      2   date this stipulation is lodged, through July 19, 2011, should be excluded in computing time
      3   within which trial must commence under the Speedy Trial Act, pursuant to Title 18 U.S.C.
      4   §§ 3161(h)(7)(A) and (B)(iv), and Local Codes T2 [complex case] and T4 [reasonable time for
      5   defense counsel to prepare].
      6   Dated: May 12, 2011                               Respectfully submitted,
      7
                                                            /s/ Michael E. Hansen
      8                                                     MICHAEL E. HANSEN
                                                            Attorney for Defendant
      9                                                     MARCELA SANTAMARIA
     10   Dated: May 12, 2011                               LAW OFFICES OF ARTURO
                                                            HERNANDEZ-MELENDEZ
     11
                                                            By: /s/ Michael E. Hansen for
     12                                                     ARTURO HERNANDEZ
                                                            Attorney for Defendant
     13                                                     ALEJANDRO FLETES-LOPEZ
     14   Dated: May 12, 2011                               LAW OFFICES OF DONALD MASUDA
     15                                                     By: /s/ Michael E. Hansen for
                                                            KENNY GIFFARD
     16                                                     DONALD MASUDA
                                                            Attorneys for Defendant
     17                                                     IRMA GONZALEZ
     18   Dated: May 12, 2011                               LAW OFFICES OF TIM A. PORI
     19                                                     By: /s/ Michael E. Hansen for
                                                            TIM PORI
     20                                                     Attorney for Defendant
                                                            ORLANDO FLETES-LOPEZ
     21
          Dated: May 12, 2011                               CHRISTOPHER HAYDN-MYER LAW
     22                                                     OFFICES
     23                                                     By: /s/ Michael E. Hansen for
                                                            CHRISTOPHER HAYDN-MYER
     24                                                     Attorney for Defendant
                                                            JESUS SANCHEZ-LOPEZ
     25
          Dated: May 12, 2011                               LAW OFFICE OF JOHN R. MANNING
     26
                                                            By: /s/ Michael E. Hansen for
     27                                                     JOHN MANNING
                                                            Attorney for Defendant
     28                                                     GERMAN GONZALEZ VELAZQUEZ


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      1   Dated: May 12, 2011                               LAW OFFICES OF DINA L. SANTOS
      2                                                     By: /s/ Michael E. Hansen for
                                                            DINA SANTOS
      3                                                     Attorney for Defendant
                                                            MAURICIO PORTILLO
      4
          Dated: May 12, 2011                               LAW OFFICE OF GILBERT A. ROQUE
      5
                                                            By: /s/ Michael E. Hansen for
      6                                                     GILBERT ROQUE
                                                            Attorney for Defendant
      7                                                     GUADALUPE REYES-ONTIVEROS
      8   Dated: May 12, 2011                               LAW OFFICE OF HAYES H. GABLE,
                                                            III
      9
                                                            By: /s/ Michael E. Hansen for
     10                                                     HAYES GABLE, III
                                                            Attorney for Defendant
     11                                                     DIANA HERNANDEZ-GONZALEZ
     12   Dated: May 12, 2011                               U.S. ATTORNEY’S OFFICE
     13                                                     By: /s/ Michael E. Hansen for
                                                            MICHAEL BECKWITH
     14                                                     PAUL HEMESATH
                                                            Assistant U.S. Attorneys
     15                                                     Attorneys for Plaintiff
     16
     17                                            ORDER
     18          IT IS HEREBY ORDERED that the previously-scheduled status conference date of
     19   May 17, 2011, be vacated and the matter set for status conference on July 19, 2011. Time is
     20   excluded in the interests of justice pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv), and
     21   Local Codes T2 and T4.
     22   Dated: May 12, 2011                                       ____________
                                                            /s/ John A. Mendez_______
     23                                                     JOHN A. MENDEZ
                                                            United States District Judge
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     25
     26
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          Stipulation and [Proposed] Order to Continue Status Conference
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